Case 2:04-Cv-02688-.]PI\/|-tmp Document 38 Filed 07/11/05 Page t of 2 Page|D 40

lN THE uNlTED sTATEs orsTRlcT couRT m BY w
FoR THE WEsTERN DisTRioT oF TENNEssEE “"'

WESTERN D|V|S|ON 05 Jul_ ll PH 3-, |,'|.

 

MARlo BECERR|L and MAR|A lsABEL TI,~DMASMGOUSW

BECERR|L, individually and as Husband CLM US. Di$iii_@i

and Wife, WD OF iii %i:MPi§S
P|aintifis,

vs. No: 04-2688-Mi P

PH|LL|P BARTLETT and WERNER
ENTERPR|SES, lNC. OF NEBRASKA,

Defendants.

 

ORDER GRANT|NG LEAVE TO FlLE A REPLY TO DEFENDANT’S
MEMORANDUM lN OPPOS|T|ON Tg PLA|NTIFFS’ MOTION TO COMPEL
D|SC VERY

 

This cause came on to be heard upon P|aintiffs’ Nlotion for Leave to Fi|e a Rep|y to
Defendant's Memorandum in Opposition to P|aintitfs’ |Vlotion to Compe| Discovery and
upon the entire record in the cause, from ali of which it appears to the Court that the Motion
is well taken and should be granted.

|T |S THEREFORE ORDERED, ADJUDGED AND DECREED that the |V|otion for
Leave to File a Rep|y to Defendant’s |Vlemorandum in Opposition to Plaintiffs’ |V|otion to

Compe| Discovery is hereby granted.

 

This document entered on the d

, ocket sheet in j
with Rule 58 and/dr 79(3) FRCP en ,/ Compiiance j

 

July ]2, 2005 to the parties listed.

SDISTRIT OURT- ESTNER Dr

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CV-02688 Was distributed by faX, mail, or direct printing on

 

Stephen C. Barton

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main Street

Memphis7 TN 38103

Carl Wyatt

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

Memphis7 TN 38103

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

Memphis7 TN 38103

Effle Vanzola Bean

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

Memphis7 TN 38103--552

Barry J. McWhirter

MCWH[RTER WYATT BRANNON & ELDER
73 Union Ave.

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

